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Recall -- Firm Press Release

FDA posts. press releases and other notices of recalls and market withdrawals from the firms involved as a
service to consumers, the media, and other interested parties. FDA does not endorse either the product or the
company.

Pfizer Follows Up On February, 2005 Recall of One Lot Of Epilepsy Medicine

Contact:
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(212) 733-8719

To ensure that all patients potentially impacted by the February 23, 2005 recall of one iot of Pfizer's
epilepsy drug, Neurontin, have been fully notified, the company issued the following statement today

FOR IMMEDIATE RELEASE — NEW YORK, — April 22, 2005 ~- Pfizer inc voluntarily recalled one tot (40,000
bottles) of 100 mg capsules of its epilepsy medication, Neurontin, after a manufacturing mechanical failure
resulted in some bottles containing empty or partially filled capsules.

Pfizer said only 100 mg strength capsules from lot #15224V ~distributed in October and November, 2004 ~
are included in the recall. The production lot was distributed only in the United States. No other Neurontin lots
were affected.

The company said it is possible that patients taking Neurontin to contro! epilepsy could experience seizures
from a missed dose of the product.

Although pharmacists and Pfizer distributors were notified on February 23 of the recall and pharmacists were
instructed to immediately contact any of their customers using Neurontin, Pfizer wants to ensure full patient
awareness. The company has worked closely with the FDA throughout the recall process.

Patients should not stop taking Neurontin before consulting with their physician. if they filed a prescription for
the product in 100 mg strength between October 1, 2004 and March 15, 2005 and are concemed that any
Unused capsules may be part of the recalied fot, they should contact their pharmacist.

roan oumers have questions about the recall, they should contact Pfizer Medical Information at 1-800-138-

Pfizer said the recall of the affected lot will not result in @ shortage of Neurontin 100 mg capsules.
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